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      EXHIBIT B
Case: 4:14-cv-01336-CEJ Doc. #: 45-2 Filed: 08/20/14 Page: 2 of 2 PageID #: 424




                         SUM'l11AR'{-0F 1ERM$:AN,Q CbN~ITlONS·
                                 THIRD Arl!EtJOMElllT TO     .
                       MAmTZ"HOtDfUGS '1Nl:t. CJll:DiT A&ReEMEf>ff




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                       <lomQJy<wlltl Se~tion a..1.1{.(Jj :Pf the· CrSc!lt Agreem•nt (Conso!fqated Flx15d
                       cnai:ge ecwerlige 'Ratio) for the qu&ftara ende&i .,!un6 3.0. 2009 Wld September
                       30.. ~009 Will. b• penniii;unt'* waived: and Illa e)CISling letnp.timry. w.elv!ir wlfl be
                       ~~Jilatf,!d.

                       The A9Qf&flale: R!i~Jvb)Q' Commltrnents will be ~rrni;instllly reduced from
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                       i!!9111li PIJ!?IPIJ.S;
                       Rew!ctttd Paymeols COll&isllng bf dlsetetionaly diirkfends (non-tax.r;l!stribullons)
                       permltter:t by Section .a,QS{o) Qf \tu, Credit Agreem~tit (I} wm not be pem1ltteu
                        ltttough aec~ber 31, .2009; ~l}ftom anti sfli;it Jiinu~y 1. 2010 to atJd !nolutllng

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                       after April 1, 201 i; wid b.e subl11-.:t.to the· 01.1rr:ent restrlctions.

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                       Sor.rower deliver to lhlt Adn\fnfslfatlvo Ago11t o c~rtfflcate demonstrating that,
                       uptin gMng, effect lo any Permitted AcqjJ1$iH0!"1 on a Pm· Forma S~is, the
                       Col'lsolilif!teo l.:.everase Rallo 1s·no111r~aterthen 1.75 to 1.0.

                       Upon !he. AcquiS!tlr!Jl of' Af;IS, AEiS wlll becorne & •subsidiary of· ll;te Borrower
                       and AE!S will be niqufred to become.a Guarantor und'er the Credi! AgreelY)ent.
                       Jn conndction Whh be<;omlng a Guarantcr under the Credit Agreement, (I)
                       AEIS1ti prf#ser1t 1,1tld ftlture lnwstmenlll in· l:tond mulval funds Will be permitted
                       lnveli;tmenls uni:ter the C<eolt A'!1reemenl so long as &uch lnvestmeotg are
                       made In a manner CQ;tslstent with past pracilcas,. (!I) Wlthlci thirty days, AEIS will
                       be reqpiriid lo ope.r1 -an lnves.~t account With.Bani< of America/Merrill lynch
                       and transfer all Jnv~lments. irtlc 1Jucl1 account (which at:eot1nt shaff be sulljec!
                       to 1he control of the Adminlsitliti;le Agent) and (ill) a covenant wm be added to
                       the Credit Agreement to req_uire that any amounts received as result of the a
                       1iqurd11t!on of such bond mutual funds (accompanied by a withdrawal or the




                                                                                                              Bray v. BANA 000233
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